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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION                                                         ENTERED
                                                                                                          02/05/2016
IN RE:                                                 §
ATP OIL & GAS CORPORATION,                             §        CASE NO: 12-36187
       Debtor.                                         §
                                                       §        CHAPTER 7
                                                       §
DIAMOND OFFSHORE COMPANY,                              §
     Plaintiff,                                        §
                                                       §
VS.                                                    §
                                                       §        ADVERSARY NO. 12-03425
BENNU OIL & GAS, LLC,                                  §
     Defendant.                                        §
                                                       §
TM ENERGY HOLDINGS LLC, GMZ                            §
ENERGY HOLDINGS LLC, AND CLP                           §
ENERGY LLC,                                            §
     Plaintiff,                                        §
                                                       §
VS.                                                    §        ADVERSARY NO. 12-03429
                                                       §
BENNU OIL & GAS, LLC                                   §
     Defendant.                                        §

                             AMENDED MEMORANDUM OPINION1

         This Amended Memorandum Opinion concerns similar adversary proceedings filed by

and Diamond Offshore Company (Adv. Pro. 12-03425) and TM Energy Holdings (Adv. Pro. 12-

03429). Rodney Tow, Chapter 7 Trustee, has filed Amended Counterclaims for the avoidance

and recovery of transfers made by ATP to TM and Diamond pursuant to 11 U.S.C. §§ 547 and

549 related to the conveyance of purported overriding royalty interests.

         TM and Diamond, the putative ORRI Holders, have each filed motions to dismiss each of

Tow’s claims under various theories.


1
  This Amended Memorandum Opinion is issued to clarify certain matters over which reconsideration was sought by
Diamond Offshore Company in Adversary Proceeding 12-3425. Because the amendments provide a more complete
statement of the law, the Court is amending the Memorandum Opinion in both adversary proceedings.


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         Bennu has filed a motion to enforce the Final Sale Order and prevent the Trustee from

pursuing § 549 claims sold to Bennu. Bennu is correct. Accordingly, Tow’s remaining § 549

claims are dismissed with prejudice.

         Tow’s remaining § 547 claims survive both TM and Diamond’s motions to dismiss.

                                            Background

         On August 17, 2012, ATP filed a voluntary petition for relief under Chapter 11. On

August 23, 2012, the Court issued a Conveyance Order authorizing (1) Payment of Funds

attributable to Overriding Royalty Interests in the Ordinary Course of Business and (2) Payment

of Funds Attributable to Net Profits Interests Subject to Further Order of the Court Requiring

Disgorgement Thereof . . . (Case No. 12-36187, ECF No. 191). Pursuant to the Conveyance

Order, the Court approved ATP’s transfer of production proceeds to holders of overriding royalty

interests and net profits interests, provided that holders of such interests executed an agreement

to disgorge such funds upon subsequent order of the Court (i.e. “Disgorgement Agreement”).

         On October 17, 2013, the Court approved ATP’s sale motions (Case No. 12-36187, ECF

Nos. 1169, 1252, and 1492) and entered the Final Order (A) Approving the Sale of Certain of the

Debtor’s Assets Free and Clear of Claims and Liens and (B) Approving the Assumption and

Assignment of Contracts and Leases (Case No. 12-36187, ECF No. 2706) (the “Final Sale

Order”) approving the Asset Purchase Agreement (the “APA”) (Case No. 12-36187, ECF No.

2706-1) pursuant to which Bennu acquired the Purchased Assets (as defined in the Final Sale

Order) via a credit bid of liens previously held by Credit Suisse AG, Cayman Islands Branch, as

administrative agent for the DIP Lenders.

         The Purchased Assets included ATP’s interest in the Telemark leases (Atwater Valley

Block 63, Mississippi Canyon 941 and 942).




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         Pursuant to the Final Sale Order, Bennu acquired the Purchased Assets burdened by

certain ORRIs and Net Profit Interests (as defined in the Final Sale Order), including those that

are the subject of the underlying adversary proceedings. See Final Sale Order at ¶ 29.

         On June 26, 2014ATP’s bankruptcy case was converted to a case under chapter 7 of the

Bankruptcy Code. Rodney Tow was appointed as Trustee.

                                    Adversary Proceedings

         The ORRI holders have each filed a complaint seeking a declaratory judgment that its

ORRI is its own real property and not property of the estate. As counterclaims, ATP asserted

claims for declaratory judgment that are the mirror image of the claims asserted in the ORRI

holders’ complaints: (i) that each ORRI constitutes a disguised financing arrangement and,

therefore, constitutes property of the Debtor’s estate and (ii) that each ORRI and related

agreements constitute executory contracts. ATP also asserted claims for disgorgement.

         On May 20, 2014, Bennu was substituted for ATP in these three adversary proceedings

with respect to all claims that relate to the Purchased Assets. (Case No. 12-36187, ECF No. 172).

         On November 13, 2014, Bennu filed its Motion to Determine Ownership of Claims (Case

No. 12-03443, ECF No. 212) pursuant to which it sought a ruling from the Court that Bennu

owned the counterclaims originally asserted by ATP in each adversary proceeding and, therefore,

that such counterclaims could not be asserted by the Trustee.          The Trustee opposed the

Ownership Motion.

                              January 28, 2015 Ownership Order

         On January 28, 2015, the Court issued its Order on the Ownership Motion. (ECF No.

236). The Court ruled that Bennu has the exclusive right against TM and Diamond “to seek to

re-characterize the alleged [TM or Diamond] Overriding Royalty interest as something other




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than a vested ownership right granted to [TM or Diamond] in the hydrocarbons to be produced.”

(Case No. 12-03443, ECF No. 236).

         Additionally, the Court held: “Rodney Tow, Trustee, has the exclusive right to seek to

avoid payments made to [ORRI Holder] by the Estate or the Debtor, whether such avoidance is

sought under § 544, § 547, § 548 or § 549 of the Bankruptcy Code, subject to paragraph 3(c) of

this Order.”

         Paragraph 3 of the Order states:

         In the prosecution of the Trustee’s avoidance claims:

    a. The Trustee may seek to prove that the payments made on account of the alleged
       Overriding Royalty Interest were made on account of a lien or contract that did
       not create a vested ownership right held by [ORRI Holder] in the hydrocarbons to
       be produced.

    b. [ORRI Holder] may seek to prove that the payments made on account of the
       alleged Overriding Royalty Interest were made on account of a vested ownership
       right held by [ORRI Holder] in the hydrocarbons to be produced.

    c. The Trustee may not pursue § 549 claims that were purchased by Bennu.

    d. The Court does not presently decide what factual disputes may be precluded by
       this Order.

(Id.).

         In accordance with the Court’s Order, Rodney Tow filed his Amended Complaint against

each ORRI Holder on February 24, 2015. (12-03425, ECF No. 270); (Case No. 12-03429, ECF

No. 293); (Case No. 12-03443, ECF No.238).

         In each Amended Complaint, Tow removed the original claims for declaratory judgment

seeking recharacterization and asserted claims for the avoidance and recovery of transfers made

to each ORRI holder by ATP pursuant to §§ 547 and 549.




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         TM and Diamond have each filed motions to dismiss Tow’s Amended Complaint. Bennu

has filed a motion to enforce the Final Sale Order and prevent the Trustee from pursuing § 549

claims sold to Bennu.

                                     Rule 12(b)(6) Standard

         The Court reviews motions under Rule 12(b)(6) by “accepting all well-pleaded facts as

true and viewing those facts in the light most favorable to the plaintiffs.” Stokes v. Gann, 498

F.3d 483, 484 (5th Cir. 2007) (per curiam).        However, the Court “will not strain to find

inferences favorable to the plaintiff.” Southland Sec. Corp. v. INSpire Ins. Solutions Inc., 365

F.3d 353, 361 (5th Cir. 2004) (internal quotations omitted).

         To avoid dismissal for failure to state a claim, a plaintiff must meet Fed. R. Civ. P.

8(a)(2)’s pleading requirements. Rule 8(a)(2) requires a plaintiff to plead “a short and plain

statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a). In

Ashcroft v. Iqbal, the Supreme Court held that Rule 8(a)(2) requires that “the well-pleaded facts”

must “permit the court to infer more than the mere possibility of misconduct.” 556 U.S. 662, 679

(2009) (quoting Rule 8(a)(2)). “Only a complaint that states a plausible claim for relief survives a

motion to dismiss.” Id. (citing Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 556 (2007)). “[A]

complaint does not need detailed factual allegations, but must provide the plaintiff’s grounds for

entitlement to relief—including factual allegations that when assumed to be true raise a right to

relief above the speculative level.” Lormand v. US Unwired, Inc., 565 F.3d 228, 232 (5th Cir.

2009) (internal quotation marks removed).

                                      May 22, 2015 Hearing

         In the ORRI holders’ motions to dismiss, they argue, inter alia, that Tow’s counterclaims

(under §§ 547 and 549) must be dismissed for lack of standing and jurisdiction because such




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claims are wholly dependent on the success of a threshold recharacterization cause of action,

which Tow does not own and cannot assert. (Case No. 12-03443, ECF No. 249 at 2). At the

May 22, 2015 hearing, the Court took the ORRI Holders’ motions to dismiss under advisement.

         With respect to Bennu’s motion to enforce the sale order, the Court held that the § 549

claims seeking money paid for hydrocarbons from a Telemark or Clipper well were sold to

Bennu. Accordingly, the Court dismissed these § 549 claims2. (See Case No. 12-03425, ECF

No. 284 at 51-52) (“I’m going to find that the claims under 549 and the claims under the

Disgorgement Order were either transferred wholly to Bennu to the extent that there is any

ambiguity in the Order or alternatively, if there is no ambiguity in the Order . . . that the

exclusive right to prosecute those claims was transferred to Bennu. And accordingly, I’m going

to grant the various motions to dismiss the Trustee’s standing to bring those particular claims.”).

                                Section 549 Claims Related to Gomez

         Based on the Court’s May 22, 2015 oral ruling, the only issue remaining from Bennu’s

motion to enforce the sale order is whether the § 549 claims for the payments on the Gomez well

are the property of Bennu or property of the estate.

         Accordingly, the Court requested briefing from Bennu, Diamond, and the Trustee on

whether the § 549 claims for money paid for hydrocarbons from Gomez wells are an excluded

asset under the Asset Purchase Agreement and Final Sale Order.3 Specifically, the Court was

concerned with how to resolve potentially inconsistent provisions in the APA and Final Sale

Order.



2
 The Court ruled that the alternative argument for dismissing the Trustee’s § 549 claims—i.e. that Bennu’s
ownership of the recharacterization claims precludes the Trustee’s pursuit of § 549 claims—was therefore moot.
3
  Because TM’s ORRI only relates to the Telemark and Clipper properties (none relate to Gomez), the Court
dismissed Tow’s §§ 541(a) and 549 claims against TM with prejudice. (Case No. 12-03429, ECF No. 315). Tow’s
§ 547 claims against TM were taken under advisement.


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          On further review, the Court finds that it need not resolve the alleged inconsistency

between the APA and Final Sale Order because (i) the Final Sale Order establishes that Bennu

purchased all § 549 claims; and (ii) if and to the extent that the APA is inconsistent with the

Final Sale Order, the Final Sale Order governs.          Accordingly, the Court finds that Bennu

purchased all of ATP’s § 549 claims.

          Two separate paragraphs of the Final Sale Order include all of ATP’s § 549 claims as a

Purchased Asset.

          Paragraph 11(f) of the Final Sale Order excludes from the Purchased Assets “any

preference or avoidance action proceeds pursuant to Section 550 of the Bankruptcy Code (other

than those avoidance action proceeds derived from Section 549 of the Bankruptcy Code, which

are included in the Purchased Assets).” (Case No. 12-36187, ECF No. 2706 at 20) (emphasis

added).

          To further clarify, paragraph 29 of the Final Order Approving the Sale of the Debtor’s

Assets provides:

          The Purchased Assets include all of the Debtor’s claims, rights and causes of
          action against the holders of overriding royalty interests, production payments, net
          profits interests, carried interests or similar interests (the “ORRI/NPI Holders”)
          with respect to any of the Purchased Assets, excluding any claims under
          Chapter 5 of the Bankruptcy Code, other than claims pursuant to Section 549 of
          the Bankruptcy Code (for the avoidance of doubt, any claim of the Debtor
          arising under Section 549 of the Bankruptcy Code shall constitute a
          Purchased Asset).

(ECF No. 2706 at 26) (emphasis added).

          Tow interprets this paragraph to mean that only the § 549 claims with respect to the

Purchased Assets (which do not include Gomez) were transferred to Bennu. He argues that

“[t]he parenthetical in paragraph 29 makes it clear that the preceding sentence meant that Bennu

was purchasing any Section 549 claims that ATP had for the Purchased Assets” and that “Gomez



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was excluded from “Purchased Asset” at the very beginning of paragraph 29.” (ECF No. 290 at

5). In other words, he argues that since Bennu did not purchase the Gomez leases, then it

follows that Bennu did not purchase the § 549 claims associated with Gomez.                               Tow’s

interpretation ignores the plain language of the Final Sale Order.

         The parenthetical in the last sentence states that any claim of the Debtor4 arising under

§ 549 constitutes a “Purchased Asset.” When read with the earlier part of the sentence—which

states that “[t]he Purchased Assets include all of the Debtor’s claims… with respect to any of the

Purchased Assets,” all of the Debtor’s § 549 claims become expressly included as a Purchased

Asset.

         The phrase “for the avoidance of doubt” is included immediately prior to stating that

“any claim of the Debtor arising under Section 549 of the Bankruptcy Code shall constitute a

Purchased Asset.” The “for the avoidance of doubt” language makes it abundantly clear that the

preceding phrases in the sentence should not affect the statement that “any claim of the Debtor

arising under Section 549 of the Bankruptcy Code shall constitute a Purchased Asset.” (ECF No.

2706 at 26) (emphasis added).

         This is consistent with the earlier provision in the Final Sale Order—paragraph 11(f)—

which also states that “avoidance action proceeds derived from Section 549 of the Bankruptcy

Code… are included in the Purchased Assets.”

         Accordingly, the Final Sale Order unambiguously provides that Bennu purchased all of

ATP’s § 549 claims.

         Paragraph 68 of the Final Sale Order states that “[t]o the extent that this Sale Order is

inconsistent with the Purchase Agreement or any prior order or pleading with respect to the

4
  At the May 22 hearing, the Court rejected Tow’s theory that the estate retained the right to prosecute all § 549
claims because the sale documents and the Disgorgement Order treat “Debtor” and “Debtor’s estate” differently so
that only assets defined with reference to the “Debtor” were sold under the Final Sale Order.


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Motion in this Chapter 11 case, the terms of this Sale Order shall govern.” (Case No. 12-36187,

ECF No. 2706 at 44).

         Accordingly, even if the APA is inconsistent with the Final Sale Order, the Final Sale

Order governs.

         Based on the above findings, the Court need not consider (i) any intent-based arguments,

(ii) whether the ORRI holders’ “crossover” argument resolves the alleged inconsistency between

paragraph 29 of the Final Sale Order and section 2.02 of the Asset Purchase Agreement

(“APA”); (iii) whether the Trustee is estopped from asserting § 549 claims as a result of his

previous positions and admissions; or (iv) whether Bennu’s ownership of the recharacterization

claims precludes the Trustee’s pursuit of § 549 claims.

         Tow’s § 549 claims are dismissed with prejudice.

                                         Tow’s Preference Claims

         The ORRI holders assert that Tow’s § 547 claims should be dismissed (i) under rule

12(b)(1) because the Trustee lacks standing and (ii) under rule 12(b)(6) because the Trustee

cannot plead the elements necessary to maintain a cause of action under § 547.5

         Both of these bases—rule 12(b)(6) and 12(b)(1)—stem from the argument that Tow’s

547 claims fail (or he lacks standing to assert them) because he is unable to obtain a finding of

law that recharacterizes the underlying instruments from true ORRIs to debt instruments under

Louisiana law.




5
  Additionally, TM argues that Tow’s § 547 claims should be dismissed because the Trustee amended his
counterclaim without seeking leave of this Court in violation of Rules 24(a)(2), 15, and 13 (made applicable under
the Bankruptcy Rules). (Case No. 12-03429, ECF No. 306 at 21). Tow responded to these alleged procedural
deficiencies by expressly seeking leave to file the amended counterclaim from the Court. Because TM has failed to
show any prejudice caused by the delay, TM’s procedural grounds for dismissal are denied.



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          This argument relies on two premises, both of which must be true to sustain the dismissal

motion: (i) Tow does not own the right to seek recharacterization of the underlying instruments

under Louisiana law because the recharacterization claims were conveyed to Bennu; and (ii)

Tow must seek—and the Court must make—a finding that recharacterizes the instruments under

Louisiana law in order for Tow to prevail on each of his § 547 claims.

          For the reasons discussed below, the Court rejects the second premise.

                                    Recharacterization Claims

          The term “recharacterization claim” refers to Bennu’s right to seek recharacterization of

the parties’ label of the transactions—overriding royalty interests—as disguised debt instruments

under Louisiana law.

          The parties dispute whether Tow can prevail on a § 547 claim that requires

recharacterization as a result of the conveyance of the “recharacterization claims” to Bennu.

          A few things appear to be undisputed under the sale documents and Ownership Order: (i)

Tow cannot prevail on an action seeking declaratory judgment that an ORRI is a disguised

financing transaction under Louisiana law; Bennu owns the exclusive right to prosecute those

claims; and (ii) the ATP bankruptcy estate retained the right to prosecute § 547 claims that do

not require recharacterization.

          Tow’s prosecution of the preference actions on behalf of the estate is expressly reserved

in the Asset Purchase Agreement, the Final Sale Order, and the Court’s Ownership Order. The

APA defines the NPI/ORRI claims (i.e. the “recharacterization claims”) transferred to Bennu as

“all claims… relating to or challenging the validity of overriding royalty interests, net profits

interests or similar burdens on the Assets…” (ECF No. 2706-1 at 17). However, section 2.03(g)

of the APA specifically excludes preference actions from being conveyed to Bennu. (See ECF




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No. 2706 at 26) (stating that the Excluded Assets include “[a]ll preference and avoidance action

proceeds pursuant to Section 550 of the Bankruptcy Code (other than those avoidance action

proceeds from Section 549 of the Bankruptcy)…”).

          In the Final Sale Order, paragraph 11(f) excludes from the Purchased Assets “any

preference or avoidance action proceeds pursuant to Section 550 of the Bankruptcy Code (other

than those avoidance action proceeds derived from Section 549 of the Bankruptcy Code…).”

(Case No. 12-36187, ECF No. 2706 at 20). Paragraph 29 again excludes preference actions:

“The Purchased Assets include…. excluding any claims under Chapter 5 of the Bankruptcy

Code, other than claims pursuant to Section 549 of the Bankruptcy Code…” (Id. at 26).

          Consistent with the sale documents, paragraph 1 of the Court’s Ownership Order states:

“Bennu Oil & Gas, LLC has the exclusive right against [TM and Diamond] to seek to re-

characterize the alleged Overriding Royalty interest held by [TM and Diamond] as something

other than a vested ownership right granted to [TM and Diamond] in the hydrocarbons to be

produced.” (Case No. 12-03425, ECF No. 264).

          The Order establishes that Tow has the exclusive right to seek to avoid payments—

including the § 547 preference claims—made to each ORRI holder other than the § 549 claims

purchased by Bennu: “Rodney Tow, Trustee, has the exclusive right to seek avoidance payments

made to [TM and Diamond] by the Estate or the Debtor, whether such avoidance is sought under

§ 544, § 547, § 548 or § 5496 of the of the Bankruptcy Code, subject to paragraph 3(c) of this

Order.”

          The Order concludes by stating that “[t]he Court does not presently decide what factual

disputes may be precluded by this Order.”


6
 As discussed above, paragraph 3(c) states “[t]he Trustee may not pursue § 549 claims that were purchased by
Bennu.”


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          Accordingly, the Court must now decide whether the sale documents and this Order

preclude the Trustee from asserting his § 547 claims.

                          Elements of a Preferential Transfer under § 547

          To state a prima facie claim under § 547, Tow must allege that each payment made by

ATP to each ORRI holder pursuant to the underlying instruments constituted:

          [A] transfer of an interest of the debtor in property… (1) to or for the benefit of a
          creditor; (2) for or on account of an antecedent debt owed by the Debtor before
          such transfer was made; (3) made while the debtor was insolvent; (4) made… on
          or within 90 days before the date of the filing of the petition… (5) that enables
          such creditor to receive more than such creditor would receive if.. (A) the case
          were a case under chapter 7 of this title; (B) the transfer had not been made; and
          (C) such creditor received payment of such debt to the extent provided by the
          provisions of this title.

11 U.S.C. § 547(b).

          With respect to the first three elements, the ORRI holders assert that “[t]he Trustee

cannot establish the foregoing elements without first establishing that [TM or Diamond’s]

ORRI/NPI Interests are properly classified as debts rather than real property interests, which in

turn requires recharacterization of the interests themselves.” (Case No. 12-03429, ECF No. 306

at 11). The Court disagrees.

          The parties quibble over whether recharacterization requires a finding of law, or as Tow

asserts, that recharacterization is merely a factual issue incidental to each § 547 claim. However,

because the Court finds that recharacterization may be unnecessary to sustain any of Tow’s

§ 547 claims, the Court need not resolve this dispute.

          As set forth below, the Court could (theoretically, since the pleadings do not conclusively

demonstrate that traceable ORRI funds were used to make the ORRI payments) find that an

ORRI payment made by ATP to each ORRI holder constitutes a “transfer of the debtor’s interest

in property” made “on account of an antecedent debt” under § 547 the Bankruptcy Code, without



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deciding whether the underlying instruments constitute an overriding royalty interest or

disguised debt instrument under Louisiana law.

             Federal Law Governs the Definition of an ‘Antecedent Debt’ for § 547

          Whether a transfer was made “for or on account of an antecedent debt” is a matter of

federal law. See Matter of Southmark Corp., 88 F.3d 311, 316 (5th Cir. 1996) (applying

Bankruptcy Code’s definition of “debt” for purposes of § 547(b)); see also In re MarkAir, Inc.,

240 B.R. 581, 603 (Bankr. D. Alaska 1999) (“While state law is often important in determining

rights and duties under the Bankruptcy Code, the Code sometimes trumps state law, including

with respect to the definition of ‘antecedent debt.’”).

          The Fifth Circuit has adopted a broad definition of the term “antecedent debt” for

purposes of § 547(b). “Debt” is defined in § 101(12) of the Bankruptcy Code, which states “debt

means liability on a claim.” “Claim” is itself defined in § 101(5)(A) as “a right to payment,

whether or not such right is reduced to judgment, liquidated, unliquidated, fixed, contingent,

matured, unmatured, disputed, undisputed, legal, equitable, secured, or unsecured.” It is well

settled that “claim” and “debt” are synonymous, such that whenever a “claim” arises, a “debt”

necessarily arises as well; the only distinction between the two terms is the party to which it

applies. Matter of Southmark Corp., 88 F.3d 311, 317 (5th Cir. 1996) (citing Penn. Dept. of

Public Welfare v. Davenport, 495 U.S. 552, 558, 110 S.Ct. 2126, 2130, 109 L.Ed.2d 588 (1990)

(“This definition reveals Congress’ intent that the meanings of ‘debt’ and ‘claim’ be

coextensive.”).

          The definition of “debt” can therefore be restated as “a liability for payment, whether or

not such liability is reduced to judgment, liquidated, unliquidated, fixed, contingent, matured,




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unmatured, disputed, undisputed, legal, equitable, secured, or unsecured.” See, e.g., In re Enron

Corp., 357 B.R. 32, 47 (Bankr. S.D.N.Y. 2006).

          A debt need not arise from a loan for purposes of § 547(b). See McClellan v. Cantrell,

217 F.3d 890, 895 (7th Cir. 2000) (explaining that “[a] debt is not something you obtain; it is

something you incur as a consequence of having obtained money or something else of value

from another person…”). “[A] transfer of the debtor’s property to or for the benefit of virtually

every kind of creditor may be avoided as a preference if the other requirements of section 547(b)

are met.” 5 Collier on Bankruptcy ¶ 547.03[3] (Alan N. Resnick & Henry Sommer eds., 16th ed.

2014).

          Indeed, courts have applied this broad definition to find a creditor-debtor relationship

under § 547(b) under a wide range of circumstances. See, e.g., In re Upstairs Gallery, Inc., 167

B.R. 915 (B.A.P. 9th Cir. 1994) (holding that a debtor’s payment of a termination fee to lessor

pursuant to the parties’ agreement to terminate the lease within ninety days of lessee’s

bankruptcy petition constituted a transfer of the debtor’s property on account of an antecedent

debt, reasoning that the “debt” arose on the date that the parties entered into the lease and was

“antecedent” within the meaning of § 547(b)(2)); see also In re Prior, 176 B.R. 485, 495-96

(Bankr. S.D. Ill. 1995) (finding that a district court’s order directing payment of the debtor’s

interest in future oil proceeds to a judgment creditor constituted a preferential transfer subject to

avoidance by the trustee under § 547(b)).

          Even in cases where an investor is defrauded by a “Ponzi scheme”7 debtor, courts hold

that a debtor’s repayment of funds to an earlier investor during the preference period constitutes

a transfer of the debtor’s interest in property made on account of an antecedent debt. See, e.g.,

7
  A “Ponzi scheme” is any sort of fraudulent arrangement that uses later acquired funds or products to pay off
previous investors.



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Cohen v. Barge (In re Cohen), 875 F.2d 508 (5th Cir. 1989) (holding that an investor who was

defrauded by the debtor, who had no intention of purchasing promised investments on investor’s

behalf, was a creditor for preference purposes).

          The Court will assume, without deciding, that each ORRI agreement created a real

property interest under Louisiana law, owned by the ORRI holders. If ATP were to have

breached its duty under the applicable agreements to forward the property to the ORRI holders,

that breach would have caused ATP to incur a debt to the ORRI holders. If ATP were to have

diverted the property for its own use—and then replenished the property via payment to the

ORRI holders—ATP’s replenishment would have been payment of the incurred debt.

          If the diversion and replenishment occurred (a fact that cannot be discerned from the

pleadings) each of these debts were “antecedent” when ATP made each alleged preferential

transfer because ATP became liable to each ORRI holder at an earlier date.

          Determining whether these transactions constitute “debt instruments” under Louisiana

law would trigger an entirely different analysis. However, Tow need not prove that each alleged

ORRI constitutes a debt under Louisiana law8 in order to satisfy the “antecedent debt”

requirement for a § 547 preference claim. Nor does Tow have to establish that the underlying

transactions do not constitute true ORRIs under Louisiana law.

          The sole issue is whether—when the payments were made to the ORRI holders—the

payments were made from the ORRI holder’s own property or from ATP’s property.




8
  Under Louisiana law, the definition of a “debt” appears to be far narrower than the Bankruptcy Code’s definition.
A loan of money is a contract by which one person pays money to another, and the party receiving the funds “is
bound to repay the same numerical amount … regardless of fluctuation in the value of the currency.” LA. CIV.
CODE ANN. ART. 2907. The definition of a loan provides for the unconditional obligation to repay the money
loaned.



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          Even if the Court were to determine that the underlying instruments were entirely

consistent with a real property interest and inconsistent with a debt instrument under Louisiana

law9, this would not preclude the Court from finding that the relevant transactions constituted a

payment of a “debt” under the Bankruptcy Code. This would run afoul with the fundamental

principle of bankruptcy preference law10. As the Supreme Court observed:

          Equality of distribution among creditors is a central policy of the Bankruptcy
          Code. According to that policy, creditors of equal priority should receive pro rata
          shares of the debtor's property. Section 547(b) furthers this policy by permitting a
          trustee in bankruptcy to avoid certain preferential payments made before the
          debtor files for bankruptcy. This mechanism prevents the debtor from favoring
          one creditor over others by transferring property shortly before filing for
          bankruptcy.

Begier v. IRS, 496 U.S. 53, 58, 110 S.Ct. 2258, 110 L.Ed.2d 46 (1990) (citations omitted).

          Accordingly, because preference actions implicate an important federal interest, the

Bankruptcy Code’s broad definition of “debt” trumps any state law characterization of the

instrument. See Butner v. United States, 440 U.S. 48, 55, 99 S. Ct. 914, 918, 59 L. Ed. 2d 136

(U.S. 1979) (“Property interests are created and defined by state law. Unless some federal

interest requires a different result, there is no reason why such interests should be analyzed

differently simply because an interested party is involved in a bankruptcy proceeding.”).




9
  It is also worth noting that this Court has recognized that some or all of the ATP transactions may be wholly
consistent with the definitions of both a debt instrument and a Term ORRI under Louisiana law. (Case No. 12-
03443, ECF No. 145 at 13).
10
   Additionally, the parties’ stated intent to convey “real property interests” under the relevant documents is not
relevant in determining whether these were preferential transfers under § 547(b). See Corporate Food Mgmt., Inc. v.
Suffolk Cmty. Coll. (In re Corporate Food Mgmt., Inc.), 223 B.R. 635, 641 (Bankr.E.D.N.Y.1998) (quoting Cullen
Center Bank & Trust v. Hensley (In re Criswell), 102 F.3d 1411, 1414 (5th Cir.1997)) (“Because a ‘preference is an
infraction of the rule of equal distribution among all creditors,’ ... neither the intent nor motive of the parties is
relevant in consideration of an alleged preference under § 547(b).”).



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                        Transfer of an Interest of the Debtor in Property

          The Court need not recharacterize the underlying instruments in order to find that the

alleged preferential transfers were “of an interest of the debtor in property.” 11 U.S.C. § 547(b).

The Bankruptcy Code does not define the term “interest of the debtor in property.” The Supreme

Court, however, has interpreted the term to mean “that property that would have been part of the

estate had it not been transferred before the commencement of bankruptcy proceedings.” Begier

v. I.R.S., 496 U.S. 53, 58, 110 S. Ct. 2258, 2263, 110 L. Ed. 2d 46 (1990). For guidance, the

Supreme Court considered the term “interest of the debtor in property” under § 547(b) to be

synonymous with the term “property of the estate” under § 541. Courts generally look to state

law to determine whether property is an asset of the debtor. Butner v. United States, 440 U.S.

48, 55, 99 S. Ct. 914, 918, 59 L. Ed. 2d 136 (U.S. 1979).

          The property at issue in each of Tow’s § 547 claims is the funds that ATP transferred to

each ORRI holder pursuant to the underlying ORRI instruments during the preference period.

This determination does not involve consideration of whether the underlying instruments—

which were executed years prior to the bankruptcy filing—created true real property interests

under Louisiana law.

          The fundamental inquiry is whether the cash transfer diminished or depleted ATP’s

estate. Whether the transfer diminished the estate turns on whether the debtor owned the

transferred funds. See Matter of Southmark Corp., 49 F.3d 1111 (5th Cir. 1995) (holding that

payment to employee from debtor’s checking account, which contained commingled funds as

part of a cash management system, constituted a preferential transfer because debtor “held

complete legal title, all indicia of ownership, and unfettered discretion to pay creditors of its own

choosing, including its own creditors.”); In re Chase & Sanborn Corp. (Nordberg v. Sanchez),




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813 F.2d 1177, 1181 (11th Cir. 1987) (“[A]ny funds under the control of the debtor, regardless of

the source, are properly deemed to be the debtor's property, and transfers that diminish that

property are subject to avoidance.”); see also Love v. First Interstate Bank of Montana, 155 B.R.

225, 230 (Bankr. D. Mont. 1993) (“The dispositive question is whether the Debtor had direct

control of the funds.”).

          Transfers of property or funds that the debtor has stolen, misappropriated, converted or

fraudulently obtained may constitute transfers of the debtor’s property. See, e.g., Burgoyne v.

McKillip, 182 F. 452, 453 (8th Cir. 1910) (“In case of embezzlement or misappropriation of

funds, the person defrauded may at his option assert a demand as upon implied contract to repay,

and such a demand is provable in bankruptcy… The holder of the demand cannot, as an ordinary

creditor, take and hold transfers of property from the insolvent defaulter free from the provisions

of the bankruptcy act respecting preferences.”).

          Property of the estate includes both legal and equitable title to property. 11 U.S.C. §

541(a)(1). There does not appear to be any dispute between the parties that legal title to the

transferred funds was in ATP’s name. The issue in this proceeding is whether the transfers are

recoverable based on an analysis of whether the Estate was depleted if ATP lacked equitable title

to the funds.

          The burden of proof on establishing that the transferred property was estate property rests

on ATP. Assuming that ATP satisfies its burden that it had legal title to the funds, a legal

presumption of equitable title arises. TM may rebut that presumption.       In re LandAmerica Fin.

Grp., Inc., 412 B.R. 800, 810 (Bankr. E.D. Va. 2009) (finding that equitable title to the funds

was presumptively property of the estate because the debtor held the funds in a bank account in

its name and under its exclusive control. “To rebut this presumption . . . [Claimant] must show




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that it retained some right to the funds. Any such right to the funds must be established as an

interest in property recognized under state law.”); In re 1031 Tax Grp., LLC, 439 B.R. 47, 70-71

(Bankr. S.D.N.Y.) supplemented, 439 B.R. 78 (Bankr. S.D.N.Y. 2010) (finding that to contest

the validity of the debtor’s equitable title in the property, a claimant must demonstrate that it

retained equitable title in the property).

          There are at least two ways to rebut the presumption that property in the debtor’s control

is property of the estate: (i) the earmarking doctrine and (ii) the trust doctrine.

          Under the earmarking doctrine, funds provided to a debtor for the purpose of paying a

specific indebtedness may (under limited circumstances) not be recoverable as a preference from

the creditor to which they are paid, because the property transferred in such a situation was never

property of the debtor and therefore did not disadvantage other creditors.11 This doctrine is

inapplicable.

          Under the trust doctrine, a trustee cannot recover funds for the benefit of the estate once it

has been determined that the transferred funds were trust assets, as those assets do not become

property of the debtor’s estate. In re E.D.B. Constr. Corp., No. 11-76129-REG, 2013 WL

6183849, at *3 (Bankr. E.D.N.Y. Nov. 26, 2013). When a debtor holds property in trust under

applicable non-bankruptcy law, the equitable interest in that property belongs to the trust

beneficiary, not the debtor. The equitable interest does not become Estate property. 11 U.S.C. §

541(d).




11
   See Coral Petroleum, Inc. v. Banque Paribas-London, 797 F.2d 1351, 1356 (5th Cir. 1986) (“In cases where a
third person makes a loan to a debtor specifically to enable him to satisfy the claim of a designated creditor, the
proceeds never become part of the debtor’s assets, and therefore no preference is created. The rule is the same
regardless of whether the proceeds of the loan are transferred directly by the lender to the creditor or are paid to the
debtor with the understanding that they will be paid to the creditor in satisfaction of his claim, so long as such
proceeds are clearly ‘earmarked.’”) (quoting 4 Collier on Bankruptcy ¶ 547.25 at 547–(101–102) (15th ed. 1986).



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          In addition to statutory trusts, claimants have attempted to use the constructive trust

doctrine to defend avoidance actions.12

                                            Tracing Requirement

          It is black letter law that when property that is presumptively property of the estate by

virtue of the debtor’s possession and control is alleged to be held in trust for the benefit of a

claimant, the burden is on the claimant to establish that a trust relationship exists, and if

necessary, trace the funds it received to trust property in a commingled account.

          When property in the possession of a debtor is alleged to be held in trust by the
          debtor for a nondebtor, and therefore not estate property under section 541(a)(1)
          or (2), the burden rests upon the entity seeking to exclude the property from the
          estate to establish the existence of the claimed fiduciary relationship. That entity
          must prove title and identify the trust fund or property and, where the fund or
          property has been commingled with the general property of the debtor, must
          sufficiently trace the property.

5 Collier on Bankruptcy ¶ 541.28 (Alan N. Resnick & Henry Sommer eds., 16th ed. 2014); In re

Mississippi Valley Livestock, Inc., 745 F.3d 299, 307 (7th Cir. 2014) (“There can be no

constructive trust without tracing a claimant’s interest to specific property.”); In re Philip Servs.

Corp., 359 B.R. 616, 626 (Bankr. S.D. Tex. 2006) (“As a general rule, any party seeking to

impress a trust upon funds for purposes of exemption from a bankrupt estate must identify the

trust fund in its original or substituted form.”) (quoting First Fed. of Michigan v. Barrow, 878

F.2d 912, 915 (6th Cir. 1989)); See also In re E.D.B. Constr. Corp., No. 11-76129-REG, 2013

WL 6183849, at *4 (Bankr. E.D.N.Y. Nov. 26, 2013) (“the funds in a commingled account may

be used to pay unsecured creditors unless a trust beneficiary can trace a superior right to those

funds. Therefore, the funds in a commingled account that could have been used to pay other

creditors presumptively constitute[ ] property of the estate.”).


12
  Some courts have rejected the applicability of the constructive trust doctrine in bankruptcy preference litigation.
See, e.g., In re Omegas Group, Inc., 16 F.3d 1443, 1451 (6th Cir. 1994).


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          The tracing requirement also applies to cases where the debtor transfers property that the

debtor does not own, but has legal control of based on consignment, bailment, or agency

relationships. See In re Rine & Rine Auctioneers, Inc., 74 F.3d 854, 860 (8th Cir. 1996) (“In a

true consignment arrangement, bailment, or agency, recovery by the bailor, principal, or

consignor rests upon identification. When the property involved, or its proceeds, has been

intermingled with other goods or funds of the debtor’s, the owner must definitely trace that

which he claims as contained in the assets of the estate.”) (internal citations omitted).

          In Beiger, the Supreme Court carved out a narrow exception to the tracing requirement.

Begier v. I.R.S., 496 U.S. 53, 110 S. Ct. 2258, 110 L. Ed. 2d 46 (1990). As an airline, the debtor

was required to collect excise taxes from its customers for payment to the IRS. § 4291. Pursuant

to § 7501, the amount of the excise taxes is “held to be a special fund in trust for the United

States,” and are often called “trust-fund taxes.”

          During the 90 day period before filing for bankruptcy, the airline had paid the IRS for the

taxes it owed—some payments were made out of a separate trust account and other payments

were made out of the debtor’s general accounts. The trustee filed an adversary action against the

IRS to recover the entire amount that the airline had paid for trust-fund taxes during that 90-day

preference period. The Supreme Court reversed the bankruptcy court’s decision allowing the

trustee to avoid payments that the debtor made out of its general accounts.

          In determining that tracing was unnecessary in this particular context, the Supreme Court

differentiated between a trust created under common law and a statutory trust created under the

Internal Revenue Code:

          Under common-law principles, a trust is created in property; a trust therefore does
          not come into existence until the settlor identifies an ascertainable interest in
          property to be the trust res. A § 7501 trust is radically different from the common-
          law paradigm, however…Unlike a common-law trust, in which the settlor sets



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          aside particular property as the trust res, § 7501 creates a trust in an abstract
          “amount”-a dollar figure not tied to any particular assets-rather than in the actual
          dollars withheld. Common-law tracing rules, designed for a system in which
          particular property is identified as the trust res, are thus unhelpful in this special
          context.

Begier v. I.R.S., 496 U.S. 53, 62, 110 S. Ct. 2258, 2265, 110 L. Ed. 2d 46 (1990) (internal

citations omitted).

          Accordingly, the Supreme Court reached its decision based on (i) its interpretation that

§ 7501 does not mandate segregation as a prerequisite to the creation of the trust; and (ii) in the

absence of any suggestion in the Bankruptcy Code about what tracing rules to apply, the

Supreme Court examined the legislative history.

          In analyzing legislative intent, the Supreme Court noted that Congress intended to

overturn the Supreme Court’s ruling in Randall, where it prohibited the IRS from recovering

withheld taxes ahead of the bankruptcy proceeding’s administrative expenses where the debtor

failed to place withheld taxes into a separate account. United States v. Randall, 401 U.S. 513, 91

S. Ct. 991, 28 L. Ed. 2d 273 (1971). The Supreme Court noted that a House Report to the 1978

Restructuring of the Bankruptcy Code states:

          A payment of withholding taxes constitutes a payment of money held in trust
          under Internal Revenue Code § 7501(a), and thus will not be a preference because
          the beneficiary of the trust, the taxing authority, is in a separate class with respect
          to those taxes, if they have been properly held for payment, as they will have been
          if the debtor is able to make the payments.

Begier v. I.R.S., 496 U.S. 53, 66, 110 S. Ct. 2258, 2267, 110 L. Ed. 2d 46 (1990) (quoting H.R.

Rep. No. 95-595).13



13
   Additionally, the Supreme Court noted that a Senate bill attacked Randall directly, providing in § 541 that trust-
fund taxes withheld or collected prior to the filing of the bankruptcy petition were not “property of the estate.” See
S. Rep. No. 95-1106, at 33 (“These amounts will not be property of the estate regardless of whether such amounts
have been segregated from other assets of the debtor by way of a special account, fund, or otherwise, or are deemed
to be a special fund in trust pursuant to provisions of applicable tax law”).



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          The Supreme Court adopted a literal reading of this passage, finding that the trustee

“could not avoid any voluntary prepetition payment of trust-fund taxes, regardless of the source

of the funds.” (Id. at 66).

          In this case, no exception to the ordinary common-law tracing requirement applies. The

ORRI holders have not alleged that an ORRI agreement creates a special type of trust that would

make ORRI payments immune from common-law tracing principles.

          Each ORRI holder’s motion to dismiss fails to address several crucial facts. Each motion

fails to assert whether ATP was contractually required to maintain a separate trust account and

whether separate trust funds were used to make the alleged preferential transfers. Certain ORRI

agreements expressly permit a payment window between when ATP receives proceeds from

production and when it is required to pay the ORRI holder’s share of the proceeds. (See Case

No. 12-03425, ECF No. 281 at 17) (providing that ATP shall pay Diamond “within thirty (30)

days next following the close of each calendar month.”).

          Although the facts are unartfully pled, the Court notes that the record in the case before it

lends credence to the possibility that the payments might have been in satisfaction of a debt. On

August 24, 2012, Albert Reese—then ATP’s Chief Financial Officer—testified that ATP was not

current on its net profit interests and ORRI payments, stating that it owed approximately $23.4

million from production proceeds received prepetition. (Case No. 12-36187, ECF No. 186 at 96).

He testified that these funds were diverted to pay other expenses that were necessary to continue

operations. (Id. at 97). At the conclusion of the hearing, Charles Kelly—counsel for ATP—

indicated that only certain ORRI agreements contained an escrow requirement, while other

ORRIs were merely subject to payment windows. (Id. at 372-373).




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          The outcome of Tow’s § 547 claims may depend upon fact issues surrounding the

mechanics of how ATP made each alleged preferential transfer. For example, ATP could have

incurred a debt if ATP used Diamond’s share of the proceeds to pay for other expenses by (i)

borrowing funds from a separate Diamond trust account; (ii) failing to place Diamond’s share of

the proceeds in an escrow account as required under the contract; or (iii) failing to comply with

the payment schedule with traceable funds.           If any of these events occurred, and ATP

subsequently paid Diamond from ATP’s own funds during the 90 day preference period, the

payment would constitute a transfer of an interest in the debtor’s property.

                              Tow’s § 547 Claim against Diamond

          Tow alleges that in May of 2009, ATP and Diamond entered into a “Farmout

Agreement” and “Conveyance of Overriding Royalty Interest” by which ATP granted Diamond

an ORRI in the Leases entitling Diamond to receive a limited “net profits interest” attributable to

any Hydrocarbons produced and saved from the Leased Lands. (Case No. 12-03425, ECF No.

270 at 3-5).      In exchange for the ORRI, the parties agreed to convert approximately

$116,400,000 in accrued accounts payable for past drilling services performed by Diamond into

the initial contribution toward the ORRI account, and agreed that thereafter such amount would

be increased by invoices for drilling services provided by Diamond in the future. Tow has

sufficiently alleged facts to establish the “antecedent debt” requirement for purposes of § 547 of

the Bankruptcy Code.

          Tow alleges that two preferential transfers—$9,701,526.00 on June 20, 2012 and

$7,894,844.00 on July 3, 2012—were made by ATP to Diamond pursuant to the alleged ORRI

transaction. (Id. at 10). Fact issues remain as to whether these payments constitute “transfer[s] of

an interest of the debtor in property…”” § 547(b).




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          Accordingly, Diamond’s motion to dismiss Tow’s § 547 claims is denied.

                                 Tow’s § 547 Claim against TM

          Tow alleges that in January of 2010, ATP entered into a “Purchase and Sale Agreement”

with GMZ Energy, TM Energy and other parties, under which ATP agreed to sell and GMZ

Energy agreed to purchase a term ORRI for $27,533,333.33, and TM Energy agreed to purchase

a perpetual ORRI for $466,666.67. (Case No. 12-03429, ECF No. 293 at 3). ATP also entered

into a “Farmout Agreement” with TM Energy in January of 2010, in which ATP granted TM an

ORRI in exchange for $25,000,000.00 in cash. (Id. at 5). The parties subsequently made several

amendments to the terms of their agreements. Tow has sufficiently alleged facts to establish the

“antecedent debt” requirement under § 547.

          Tow alleges that a preferential transfer in the amount of $1,031,847.00 was made to TM

on May 31, 2012. (Case No. 12-03429, ECF No. 293 at 10). Fact issues remain as to whether

these payments constitute “transfer[s] of an interest of the debtor in property…” § 547(b).

          Accordingly, TM’s motion to dismiss Tow’s § 547 claim is denied.

                                           Conclusion

          The Court will enter Orders consistent with this Memorandum Opinion.

          SIGNED February 4, 2016.


                                                 ___________________________________
                                                             Marvin Isgur
                                                 UNITED STATES BANKRUPTCY JUDGE




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